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                         Nos. 22-13992 & 22-13994

           In the United States Court of
           Appeals for the Eleventh Circuit
                         LEROY PERNELL, ET AL.,
                                     Plaintiffs–Appellees,
                                       v.

                           BRIAN LAMB, ET AL.,
                                      Defendants–Appellants.

                        ADRIANA NOVOA, ET AL.,
                                    Plaintiffs–Appellees,
                                       v.

                         MANNY DIAZ, JR., ET AL.,
                                      Defendants–Appellants.

           REPLY BRIEF OF DEFENDANTS-APPELLANTS

                          ON APPEAL FROM THE
                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
               NOS. 4:22-CV-304-MW-MAF & 4:22-CV-324-MW-MAF

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                           Pernell, et al. v. Lamb, et al., Novoa, et al. v. Diaz, et al.
                                                           Nos. 22-13992 & 22-13994

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Per Circuit Rule 26.1-2(b), Defendants-Appellants certify that the Certificates

of Interested Persons contained in previous briefs are complete.


Dated: July 7, 2023                         Respectfully submitted,

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                                INTRODUCTION

      “[C]onstitutional review of government employment decisions,” whether

under the First Amendment or the Due Process Clause, “must rest on different

principles than the review of speech restraints imposed by the government as

sovereign” on private citizens. Waters v. Churchill, 511 U.S. 661, 674 (1994).

Accordingly, a government employee’s speech on a matter of purely private concern

is not protected by the First Amendment from employer sanctions. Connick v. Myers,

461 U.S. 138, 146-149 (1983). And even when a government employee comments

as a citizen on a matter of public concern, the employee’s speech can be sanctioned

if the employee’s interest in uttering it is outweighed by the government’s interest

“in promoting the efficiency of the public services it performs through its

employees.” Pickering v. Bd. of Educ. of Twp. High Sch. Dist., 391 U.S. 563, 568

(1968). And when government employees speak “pursuant to their official duties,”

their speech is the government’s speech, wholly unprotected by the First

Amendment. Garcetti v. Ceballos, 547 U.S. 410, 421 (2006).

      These principles apply no less to public educators than to all other government

employees, and they compelled the conclusion that the State, in this Court’s

prescient words in Bishop, “must have the final say in ... a dispute” with a professor

“about a matter of content in the courses he teaches.” Bishop v. Aronov, 926 F.2d

1066, 1076 (11th Cir. 1991).

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      But Plaintiffs say this Court’s decision in Bishop is not their foe, but rather

their friend, supporting their claim that the First Amendment vests them with the

“academic freedom” to espouse in their classrooms such “pedagogically relevant”

personal beliefs as, for example, that “[m]embers of one race ... are morally superior

to members of another race.” See FLA. STAT. § 1000.05(4)(a)1. They argue that the

Individual Freedom Act’s (“Act”) prohibition on their classroom advocacy of this

concept and seven similar concepts cannot survive scrutiny under Bishop’s three-

factor balancing test for, as this Court put it, “calibrat[ing] the Constitution” in cases

such as this. 926 F.2d at 1074.

      One would expect, then, that Plaintiffs would make some effort to explain

how their argument can possibly be squared with the rule established in Bishop as a

result of the Court’s calibration: “The University’s conclusions about course content

must be allowed to hold sway over an individual professor’s judgments,” and so “the

University as an employer and educator can direct Dr. Bishop to refrain from

expression of religious viewpoints in the classroom and like settings.” Id. at 1077.

But Plaintiffs do not even mention Bishop’s unequivocal rule that “[t]he University

necessarily has dominion over what is taught by its professors and may so manage

them.” Id. at 1078.




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       Even if Plaintiffs could expunge the dispositive passages from Bishop simply

by ignoring them, a straightforward application of Bishop’s three-factor balancing

test is no less fatal to their constitutional claim.

       With respect to the first factor—the classroom context of Dr. Bishop’s

speech—the Court emphasized “the coercive effect upon students that a professor’s

speech inherently possesses and that the University may wish to avoid,” id. at 1074,

lest the professor’s speech “create[] the appearance of endorsement of that position

by the University,” id. at 1078 (emphasis added). Just as the university in Bishop

insisted on “the separation of [Dr. Bishop’s] personal views from his professorial

duties,” id. at 1076 n.7, the Act insists that university professors not use their

inherent influence with students to inculcate their personal views endorsing the

prohibited concepts. Plaintiffs argue that their personal opinions endorsing the

concepts are pedagogically relevant to their classes, while Dr. Bishop’s personal

religious beliefs were wholly irrelevant to his physiology courses. Pernell, Doc. 52

at 25 (June 16, 2023) (“Pernell Br.”); Novoa, Doc. 31 at 32 (June 16, 2023) (“Novoa

Br.”). But the Bishop Court expressly accepted that Dr. Bishop’s “religious

viewpoint” “represents his professional opinion about his subject matter,” 926 F.2d

at 1077, 1076 n.7, and yet the Court upheld the university’s (that is, the State’s)

authority to demand that he keep his personal views to himself.




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      The second factor balanced in Bishop—the university’s status as Dr. Bishop’s

“public employer which may reasonably restrict the speech rights of employees”—

obviously cuts against Plaintiffs’ First Amendment claim, given “the University’s

authority to reasonably control the content of its curriculum, particularly that content

imparted during class time.” Id. at 1074. But Plaintiffs say this factor cuts in their

favor for two reasons.

      First, Plaintiffs argue that Bishop dealt with a restriction on a single professor,

while the Act restricts professors in all state institutions. Pernell Br. 26; Novoa Br.

38. There is no doubt at all, however, that Bishop would have come out the same

way if the Court had been reviewing a university-wide policy. Indeed, this Court

said as much: “The University necessarily has dominion over what is taught by its

professors and may so manage them.” Bishop, 926 F.2d at 1078 (emphasis added).

Second, Plaintiffs argue that Bishop is distinguishable because it involved a

classroom speech restriction imposed by the university, while this case involves

restrictions imposed by the legislature. Pernell Br. 25-26. This is true, but Plaintiffs

are reading the organization chart for public universities upside down: the legislature

clearly has the authority to define and prevent invidious discrimination in the

universities that it creates and funds, and Plaintiffs can cite no case supporting the

notion that a public university has constitutional autonomy from legislative control.




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      The final Bishop factor was “the strong predilection for academic freedom as

an adjunct of the free speech rights of the First Amendment.” 926 F.2d at 1075.

Throughout their briefs, Plaintiffs repeatedly quote the “pall of orthodoxy” dictum

from Keyishian as an all-purpose trump card decisively supporting their academic

freedom claim. Keyishian v. Bd. of Regents of the Univ. of the State of N.Y., 385 U.S.

589, 603 (1967). The Bishop Court also quoted this same passage from Keyishian,

but did not accord it significant, let alone dispositive, weight—holding instead that

Keyishian’s “pronouncements about academic freedom” “cannot be extrapolated to

deny schools command of their own courses” and that the Court could “not find

support to conclude that academic freedom is an independent First Amendment

right.” 926 F.2d at 1075.

      Bishop was actually a harder case than this one, for it was decided before the

Supreme Court’s subsequent cases establishing the government speech doctrine.

Those cases hold that when the government itself speaks, “it is entitled to say what

it wishes.” Rosenberger v. Univ. of Va., 515 U.S. 819, 833 (1995). And speech

uttered by government employees “pursuant to their official duties” is the

government’s own speech and thus not constitutionally protected from the

government’s restrictions. Garcetti, 547 U.S. at 421. The essential official duty of

public university educators is to speak; that is the very purpose of their job. If any

public employees are within the government speech doctrine, surely they are.

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Plaintiffs, and the court below, argue that public university educators, uniquely

among all government employees, lie outside the scope of the doctrine; that they

stand alone, as the “priests of democracy” according to the district court, on a First

Amendment pedestal, free to say what they please no matter what their government

employers, including even the State Legislature, think about it. This is not a tenable

understanding of the First Amendment.

         Finally, Plaintiffs’ efforts to rescue the district court’s vagueness analysis also

fail. Plaintiffs dispute the district court’s application of the relaxed “ordinary,

common sense” vagueness standard for public employees, but they fail to grapple

with the binding precedent that establishes it. And on the merits, Plaintiffs’

vagueness arguments are, like the district court’s reasoning, all fatally flawed for the

reasons explained in our opening brief and below. Pernell, Doc. 45 at 45-53 (“Op.

Br.”).

                                       ARGUMENT

I.       Plaintiffs Lack Standing To Challenge the Act’s First, Third, Fifth, and
         Sixth Concepts.

         As explained in our opening brief, Op. Br. 19-23, Plaintiffs did not

demonstrate—nor even adequately allege—that their prior or intended instruction

would plausibly violate every concept in the Act. Plaintiffs do not dispute that the

district court made their standing arguments for them, searching the record and

concluding that Plaintiffs had standing for a preliminary injunction with respect to
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every provision of the Act. Yes, “courts routinely review allegations from the

movant’s declarations, in addition to the complaint and legal briefs,” Pernell Br. 17,

but surely a district court’s advocacy for standing arguments that the Plaintiffs never

made anywhere “depart[s] so drastically from the principle of party presentation as

to constitute an abuse of discretion.” United States v. Hansen, No. 22-179, slip op.

at 3 (U.S. June 23, 2023) (internal quotation marks omitted). 1

      On appeal, the Plaintiffs attempt to cure their failure by adopting the district

court’s arguments explaining why particular facts from the record suffice to

demonstrate standing to challenge every concept in the Act. See Pernell Br. 18-20;

Novoa Br. 22-25. These arguments, first offered on appeal, are forfeited. See Access

Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1331 (11th Cir. 2004).

      And Plaintiffs’ suggestion that they may “challenge … the Act as a whole,”

Pernell Br. 22, without identifying what intended instruction is arguably proscribed

by any particular provision within the Act cannot be squared with the bedrock




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         Perhaps the most vivid example was the district court’s mining of Dr. Park’s
declaration for standing arguments with respect to the concepts as applied to speech
about “sex.” See App.352-54. In their preliminary-injunction memorandum,
Plaintiffs referenced Dr. Park’s teaching regarding “sex” only with respect to
concept 8. See Pernell, Doc. 13 at 25 (N.D. Fla. Aug. 24, 2022). But the district court
held that Dr. Park also had standing for a preliminary injunction against the
enforcement of concepts 1, 3, 4, 5, and 7. App.354. Although Dr. Park’s declaration
could possibly have supported additional standing theories apart from concept 8,
Plaintiffs did not make those arguments.
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principle that “[s]tanding is not dispensed in gross,” Davis v. FEC, 554 U.S. 724,

734 (2008); App.335.

II.   The Act Does Not Violate the First Amendment.

      A. Bishop Squarely Controls This Case.

      Plaintiffs’ arguments, like the district court’s analysis, squarely conflict with

this Court’s decision in Bishop. There, this Court made clear that public-university

professors do not hold a First Amendment license to determine what is taught in the

classroom. To the contrary, when a professor and the university disagree “about a

matter of content in the courses he teaches,” the “University must have the final say

in such a dispute.” Bishop, 926 F.2d at 1076. Ignoring this clear holding of Bishop,

Plaintiffs argue primarily that Bishop’s three-factor balancing analysis yields a

contrary result here. They misread Bishop at every turn.

      To start, Plaintiffs steadfastly refuse to acknowledge that Bishop established

a rule in the context of in-class instruction. Bishop was unequivocal: “The

University’s conclusions about course content must be allowed to hold sway over an

individual professor’s judgments,” and so “the University as an employer and

educator can direct Dr. Bishop to refrain from expression of religious viewpoints in

the classroom and like settings.” Id. at 1077. This is so, according to Bishop, because

the “University necessarily has dominion over what is taught by its professors and

may so manage them.” Id. at 1078. Thus, although Bishop set forth a balancing test


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governing speech by professors generally, the Court conclusively resolved the

balance with a per se rule governing instructional speech in the classroom.

      Even if the court below were somehow free to conduct Bishop’s balancing

anew, all three of the factors show that the Act is well within the State’s

constitutional authority to control the classroom speech of the State’s educators.

      With respect to the first factor, “the context” of the speech at issue here is

exactly the same as in Bishop: “the university classroom during specific in-class

time.” Id. at 1074. And that context here raises precisely the same dangers—“the

coercive effect upon students that a professor’s speech inherently possesses,” id.,

and the “appearance of endorsement” of that speech by the university, id., at 1078.

Like the district court, Plaintiffs contend that the First Amendment permits the State

to regulate instructional speech only based on its relevance to the subjects taught in

the curriculum; it may not, say Plaintiffs, restrict a professor’s advocacy of personal

viewpoints that are relevant to his or her course subjects. According to Plaintiffs, the

Court allowed the university to regulate Dr. Bishop’s speech only because his

personal religious beliefs “had nothing to do with” his physiology courses. See

Pernell Br. 41; Novoa Br. 35. But Bishop says precisely the opposite: the Court

expressly accepted that Dr. Bishop’s “religious viewpoint” “represents his

professional opinion about his subject matter.” 926 F.2d at 1077, 1076 n.7. And it is




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the university, not the professor, that has “the final say” on the relevance of the

professor’s viewpoints to the courses it offers in its classrooms. Id. at 1076.

      Plaintiffs argue that the ban on Dr. Bishop’s religious viewpoint was not

viewpoint discrimination because it was merely excluding “religious views” from a

“secular class.” Pernell Br. 25. But a restriction on “religious” expression is perforce

viewpoint discriminatory. See Good News Club v. Milford Cent. Sch., 533 U.S. 98,

111-12 (2001). The Bishop Court’s repeated references to Dr. Bishop’s religious

viewpoint was neither accidental nor mistaken.

      Bishop’s second factor—the university’s authority as a “public employer” to

“reasonably restrict the speech rights of employees” and “reasonably control the

content of its curriculum, particularly that content imparted during class time,” 926

F.2d at 1074—also decisively favors the Act’s constitutionality. Plaintiffs resist this

conclusion, pointing out that Bishop involved a lone university’s action against one

professor, while this case involves a state-wide regulation of curricular speech. But

the principles articulated by this Court were not targeted at Dr. Bishop: the Court

would not have struck down a university-wide or state-wide policy barring all

professors from espousing their personal religious beliefs in class. It held, after all,

that the “University necessarily has dominion over what is taught by its professors

and may so manage them.” Id. at 1078 (emphasis added).




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      Nor is Plaintiffs’ cause helped by the Supreme Court’s decision in United

States v. NTEU, 513 U.S. 454 (1995). See Novoa Br. 36-39. NTEU struck down a

statute prohibiting federal employees from receiving compensation for their writing

and speeches not because it involved a government-wide regulation, but “[b]ecause

the vast majority of the speech at issue” did “not involve the subject matter of

Government employment” and took “place outside the workplace” on the

employees’ own time. 513 U.S. at 470; see also City of San Diego v. Roe, 543 U.S.

77, 80 (2004). Here, in contrast, the speech at issue only involves the subject matter

of government employment and takes place only in the classroom or other

instructional setting. See FLA. STAT. § 1000.05(4)(a). The Act does not apply to

Plaintiffs’ “academic scholarship,” Pernell Br. 3, speeches outside of class, or

publications. Nor does the Act, contrary to Plaintiffs’ and the district court’s claims,

reach speeches or debates by guest speakers or other invitees, unless they speak with

the imprimatur of the State. See Op. Br. 40-41 & n.6; Regulation 10.005 (defining

“instruction” as teaching “by a university employee” or other person “authorized to

provide instruction by the university within a course”)

      Plaintiffs also argue that Bishop’s resolution of the second factor is

distinguishable because Bishop involved a restriction imposed by “the academy,”

while this case involves restrictions imposed by the legislature. Pernell Br. 31-32;

see also Novoa Br. 32. This remarkable argument, not surprisingly, is unsupported

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by citation to any authority. The idea that “[u]niversities, as subordinate organs of

the State, have First Amendment rights against” or above “the State or its voters” is

antithetical to any proper understanding of State sovereignty. See Coal. to Def.

Affirmative Action v. Granholm, 473 F.3d 237, 247 (6th Cir. 2006); see also Op. Br.

39-40.

      Finally, just as “the strong predilection for academic freedom as an adjunct of

the free speech rights of the First Amendment” did not outweigh the university’s

authority in Bishop to control how its own professors taught its own courses,

Plaintiffs repeated incantation of dicta about academic freedom from Keyishian

(“pall of orthodoxy”) and Sweezy (“free to inquire”) cannot yield a different result

here. See Pernell Br. 31, 35. The Bishop Court quoted this same passage from

Keyishian, see 926 F.2d at 1075, and yet squarely held that the Supreme “Court’s

pronouncements about academic freedom” in such cases “cannot be extrapolated to

deny schools command of their own courses.” Id. And Keyishian and Sweezy are

inapposite in any event, for they involved state laws that excluded from public

employment any person who engaged in any “subversive” speech or associations,

including teachers, whether such speech occurred in or out of the classroom.

Keyishian, 385 U.S. 592; Sweezy v. New Hampshire, 354 U.S. 234, 236 (1957).




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      B. The Speech at Issue Is Government Speech.

      The Bishop Court was ahead of its time, accurately anticipating the Supreme

Court’s now well-established “government speech” doctrine, which holds that the

government has control over the content, including viewpoints, of its own speech.

Under Rosenberger, it is the State “speaking” when it “determines the content of the

education it provides.” 515 U.S. at 833 (emphasis added). Under Rust, when the

State of Florida “appropriates public funds to promote a particular policy of its own

it is entitled to say what it wishes.” Id. (citing Rust v. Sullivan, 500 U.S. 173, 194

(1991)). Under Pleasant Grove City v. Summum, the government may “express its

views” when “delivering a government-controlled message” on the government’s

property—even when “it receives assistance from private sources for the purpose of

delivering [that] message.” 555 U.S. 460, 468 (2009). And under Garcetti, when

“public employees make statements pursuant to their official duties, the employees

are not speaking as citizens for First Amendment purposes.” 547 U.S. at 421

(emphasis added).2 The Act touches all these bases: Florida’s educators are the


      2
         The Supreme Court’s recent decision in 303 Creative LLC v. Elenis, No. 21-
476, slip op. (U.S. June 30, 2023), provides yet another illustration of this critical
distinction. There, the Court held that Colorado could not compel a private website
designer “to speak in ways that align with [the State’s] views but defy her conscience
about a matter of major significance.” Id. at 25. But the Court did not call into any
question Colorado’s obvious authority to direct the website designers that the State
itself employs to work on its own websites to “align with its views” when they are
redesigning, say, the Office of the Governor’s website.

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State’s employees, hired to teach the State’s curriculum, in the State’s classrooms,

in return for a State paycheck. The Act is thus constitutional four times over.

      As detailed in our opening brief, Op. Br. at 29-30, several circuits, including

this one, have applied the principles from the government-speech cases to in-class

speech by public educators. Plaintiffs’ efforts to avoid these cases are meritless.

First, contrary to Plaintiffs’ suggestion, Novoa Br. 40-41, Garcetti’s reservation of

the question whether it applied to the academic context is obviously not a holding

that it does not so apply. And the reasoning of Garcetti clearly supports its

application to classroom teachers, whose essential official duty is speaking. Mayer

v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477, 479 (7th Cir. 2007).

      The Novoa (but not Pernell) Plaintiffs next assert that Defendants “waived”

reliance on a “government-funding theory.” Novoa Br. 50-51. But Defendants’

invocation of the government-funding line of government speech cases is not a

standalone “theory.” Instead, the seminal government-funding case, Rust, forms part

of the bedrock of the government-speech doctrine—which is why it is cited in the

major government-speech cases and on the very pages that Defendants cited below.

See, e.g., Rosenberger, 515 U.S. at 833; Walker v. Tex. Div., Sons of Confederate

Veterans, Inc., 576 U.S. 200, 208 (2015). The same goes for the leading government-

property case, Pleasant Grove. See Walker, 576 U.S. at 207; Shurtleff v. City of

Boston, 142 S. Ct. 1583, 1589 (2022).

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      Plaintiffs also contend that the Act is unconstitutional because it seeks to

“suppress the expression” of particular viewpoints. Pernell Br. 27. As an initial

matter, the Act expressly permits classroom discussion of any viewpoint “in an

objective manner without endorsement.” FLA. STAT. § 1000.05(4)(b). More

importantly, “imposing a requirement of viewpoint-neutrality on government speech

would be paralyzing. When a government entity embarks on a course of action, it

necessarily takes a particular viewpoint and rejects others. The Free Speech Clause

does not require government to maintain viewpoint neutrality when its officers and

employees speak about that venture.” Matal v. Tam, 582 U.S. 218, 234 (2017).

      Plaintiffs next spend several pages arguing that classroom speech by public

educators does not qualify as government speech under the three-factor test outlined

in Shurtleff. Pernell Br. 35-37. But that analysis is wholly inapplicable here; it

applies only in determining whether a message that is the result of a “government-

public engagement”—meaning the government has “invite[d] the people to

participate in a[n expressive] program”—is the government’s own speech or private

speech. Shurtleff, 142 S. Ct. at 1589 (privately owned flags flown on city flagpole

expressed the flag owner’s message); Walker, 576 U.S. at 213 (designs proposed by

private groups for state license plates expressed state’s message); Pleasant Grove

City, 555 U.S. at 470-73 (privately funded and donated monuments on public

property express government’s message). But governments speak through the words

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of their employees, and here, the State hires educators—for the purpose of speaking

on its behalf—to teach the State’s curriculum.

      Plaintiffs vastly overstate the extent to which other circuits have interpreted

the government speech cases differently in this context. Plaintiffs say Buchanan v.

Alexander, 919 F.3d 847 (5th Cir. 2019), “considered Garcetti’s open question” and

“concluded that academic speech—including in the classroom—is not government

speech subject to Garcetti.” Novoa Br. 42 & n.19. But although Buchanan applied

the Pickering balancing test to a teacher’s classroom comments, it does not even

cite, let alone analyze, Garcetti. Plaintiffs also say the Fourth Circuit has refused to

apply Garcetti to in-class speech, id., but they leave out a crucial detail: The Fourth

Circuit has also held that speech that is “curricular in nature” is “not protected by

the First Amendment,” Lee v. York Cnty. Sch. Div., 484 F.3d 687, 696-97 (4th Cir.

2007)—which leads to the same result as applying Garcetti to in-class speech.

      Plaintiffs also highlight the Sixth Circuit’s decision in Meriwether v. Hartop,

992 F.3d 492 (6th Cir. 2021), which does conclude that Garcetti is not applicable to

higher education. But the university there sought to compel a university professor to

profess a personal belief that the professor did not hold—indeed, that he rejected as

a matter of religious faith. See 992 F.3d at 503. And it is well established that the

government cannot constitutionally compel any person, including an employee, to

falsely profess a personal belief. See W. Va. State Bd. of Educ. v. Barnette, 319 U.S.

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624, 642 (1943) (West Virginia could not constitutionally require schoolchildren to

recite a pledge that contravened their convictions); 303 Creative, slip op., at 11.

Defendants have acknowledged throughout this litigation that the First Amendment

does not permit the State to compel “expression of beliefs that professors do not

hold.” App.300 n.7. Under the Act, no professor is required to express any personal

belief that he does not hold.

      That leaves the Ninth Circuit’s decision in Demers v. Austin, 746 F.3d 402

(9th Cir. 2014). And yes, Demers states that “Garcetti does not apply to speech

related to scholarship or teaching.” Id. at 406 (internal quotation marks omitted). But

even in Demers, the relevant speech was not in-class curricular speech, but rather

the “distributing [of] a short pamphlet and drafts from an in-progress book”

unrelated to the professor’s classroom instruction. See id. at 406-408. Demers’s

nonbinding holding that Pickering’s balancing test applies in that different context

does not dictate the result here.

      Moreover, even if the Court were to decide this case under Pickering,

Plaintiffs’ claims would still fail. Recognizing a right of public educators to

contradict the State’s prescribed curriculum would unquestionably “imped[e] the

teacher’s proper performance of his daily duties in the classroom.” Pickering, 391

U.S. at 572-73. Indeed, it would subvert the teacher’s classroom duties.




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      Plaintiffs assert that viewpoint discrimination is per se unlawful under

Pickering, Novoa Br. 29, citing two out-of-circuit cases. But those cases actually

held that a viewpoint restriction failed under Pickering when the relevant speech was

unrelated to the employee’s duties. See Amalgamated Transit Union Local 85 v.

Port Auth., 39 F.4th 95, 103 (3d Cir. 2022) (expressive displays on facemasks worn

by port authority workers); Wolfe v. Barnhart, 446 F.3d 1096, 1097 (10th Cir. 2006)

(textbook published by an ALJ). Where, as here, the relevant speech—teaching the

State’s curriculum—is the very purpose of the employee’s job, the Pickering balance

tilts entirely in the government’s favor.

      Plaintiffs acknowledge that the First Amendment does not protect a

professor’s harassing or hostile instructional speech if it is so “severe, pervasive, and

objectively offensive” that it triggers Title VI or Title IX liability for the university.

Novoa Br. 33-34; see also Pernell Br. 28-29. The cases Plaintiffs cite dealt with the

question of when the harassing or hostile speech of a teacher or student is severe

enough to impose damages liability on the university. See Novoa Br. 33-34 (citing

Davis v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 650 (1999)). But these cases are

lethal to Plaintiffs’ First Amendment claims. For surely a State may constitutionally

discipline its own employees for official-duty speech that falls short of triggering

damages liability for the State under a federal statute. Plaintiffs’ argument would

effectively give Title VI and Title IX preemptive effect—setting the constitutional

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floor for what speech States must tolerate from their own employees. Plaintiffs offer

no authority for that proposition, and the Supreme Court’s government speech cases

refute it.

       Finally, the Act would satisfy even strict scrutiny. As explained, the Act

serves the compelling government interest of preventing invidious racial

discrimination, Op. Br. 58, and “reducing racism,” Arce v. Douglas, 793 F.3d 968,

973, 985-86 (9th Cir. 2015) (cleaned up). Remarkably, Plaintiffs assert that this

government interest identified in Arce is not even “a legitimate” interest at the

university level. See Novoa Br. 29. 3 But the State of Florida believes that “reducing

racism,” Arce, 793 F.3d at 985-86, is a compelling interest at both K-12 schools and

public universities.

       C. Plaintiffs’ Proposed Test Is Wholly Unworkable and Would Lead to
          Unacceptable Results.

       Plaintiffs’ (and the district court’s) theory that the State may regulate

instructional speech based on content (the subjects taught in the curriculum) but not

viewpoint (the personal viewpoints espoused by educators during classes on those

subjects), Pernell Br. 32, would yield startling and unacceptable consequences.

       In Plaintiffs’ view, once the State offers a particular course subject, no

viewpoint is off limits. See Novoa Br. 26 (asserting the Act is unconstitutional


       Plaintiffs effectively concede that the Act is constitutional as applied to K-
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12 schools. See Novoa Br. 49 n.25; Pernell Br. 30.
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simply “because it is viewpoint-discriminatory”). As explained in our opening brief

(at 41-42), that theory would require a State to silently endure a professor who denies

the Holocaust in a class discussing World War II or champions white supremacy in

a class discussing Jim Crow. Plaintiffs dismiss these instances as “imagined

hypotheticals,” Novoa Br. 18, even though one of them is reported in a published

federal decision and the other in recent news stories, Op. Br. 41-42.

      Second, perhaps sensing the unacceptable implications of their all-

viewpoints-allowed theory, Plaintiffs claim that “[v]iewpoint-neutral academic

standards” that confine a professor’s instruction to “relevant” and “pedagogically

appropriate” instruction “are more than sufficient to address Holocaust denial.”

Pernell Br. 30-31. But how can that be? Surely, a viewpoint regarding the Holocaust

would be “relevant” to a class discussing any variety of topics—World War II,

genocide, the history of the German or Jewish people. Plaintiffs utterly fail to explain

what does and does not count as “relevant” under their test. The same goes for the

district court, which held that “critical race theory” is not relevant to “botany,” but

theories of “systemic discrimination” are somehow relevant to statistics. See Op. Br.

33 n.5. And it is no answer for Plaintiffs to say that “Holocaust denial” is “factually

wrong,” Novoa Br. 46, because it is Florida’s judgment that the Act’s enumerated

concepts—e.g., the proposition that one race is morally superior to another race—

are also “factually wrong.” In the end, Plaintiffs’ proposed limit simply returns the

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Court to the critical question: Who is to decide what is “relevant”? And Bishop

clearly answered that question: “Federal judges should not be ersatz deans or

educators,” and the “University necessarily has dominion over what is taught by its

professors and may so manage them.” 926 F.2d at 1075, 1078.

III.   The Act Is Not Unconstitutionally Vague.

       Plaintiffs also failed to demonstrate a likelihood of success on their vagueness

claim. Plaintiffs dispute that the Court has established a relaxed vagueness standard

for public employees, Pernell Br. 38; Novoa Br. 51, n.26, but this Court’s precedent

says this:

       In the public employment context, the Supreme Court has reiterated that
       the vagueness doctrine is based on fair notice that certain conduct puts
       persons at risk of discharge. Such standards are not void for vagueness
       as long as ordinary persons using ordinary common sense would be
       notified that certain conduct will put them at risk of discharge.

O’Laughlin v. Palm Beach Cnty., 30 F.4th 1045, 1055 (11th Cir. 2022); see also

Churchill, 511 U.S. at 673 (“[S]urely a public employer may, consistently with the

First Amendment, prohibit its employees from being ‘rude to customers,’ a standard

almost certainly too vague when applied to the public at large.” (citing Arnett v.

Kennedy, 416 U.S. 134, 159 (1974))). And Plaintiffs cannot explain how the Act

could be unconstitutionally vague while a standard governing dismissal of educators

for “failure to maintain standards of sound scholarship and competent teaching” is

permissible. San Filippo v. Bongiovanni, 961 F.2d 1125, 1137 (3d Cir. 1992).


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      Plaintiffs suggest that a “more stringent standard” should apply to “higher

education” rather than the vagueness standard that applies to all other public

employees, Novoa Br. 51 n.26, thus enlarging the professoriate’s supposed First

Amendment pedestal to include due process as well. This “argument raises the

specter of a constitutional right enjoyed by only a limited class of citizens”—a

contention that is “audaci[ous]” and “manifestly at odds with a constitutional system

premised on equality.” Urofsky v. Gilmore, 216 F.3d 401, 411 n.13 (4th Cir. 2000)

(en banc). Nor does Keyishian support Plaintiffs’ bespoke “for-higher-education-

only” vagueness standard, since that case (1) did not address the plaintiffs’ status as

government employees, or the implications of that status for the vagueness analysis;

and (2) predates the binding precedent adopting a relaxed vagueness standard for

government employees.

      On substance, Plaintiffs offer no response to the fact that the operative verbs

in the Act require scienter and thus mitigate any vagueness concern. See Op. Br. 48;

Arce, 793 F.3d at 988-89 (verbs like “advocate” and “promote” “impl[y] an

affirmative act and intent”). Nor do Plaintiffs respond to the fact that the Board’s

implementing regulation offers professors an opportunity to cure before any

punishment can be imposed. See Op. Br. 48. Instead, Plaintiffs seem to ask this Court

to “apply a canon of ‘constitutional collision’” rather than constitutional avoidance.

Hansen, slip op. at 16. But when “legislation and the Constitution brush up against

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each other,” the Court’s “task is to seek harmony, not to manufacture conflict.” Id.

at 16-17. Thus, even if the Court believes that Defendants’ reading of the Act is not

the better one, the constitutional reading should prevail.

      Like the district court, Plaintiffs contend the word “objective” is

unconstitutionally vague. First, the word “objective” does not stand alone in

describing permissible “instruction” under the Act. It is part of a phrase—“in an

objective manner without endorsement”—whose plain meaning is clear to anyone

not determined to misunderstand it. Second, Plaintiffs repeat the refrain that the Act

“redefined” the word “objectivity” because the Act permits professors to criticize

but not endorse the concepts. Novoa Br. 52-53. As previously explained, that

argument rests on a “fundamental and obvious misunderstanding of the Act’s text

and structure.” See Op. Br. 52. The Act prohibits endorsement in one section,

expressly permits discussion in an objective manner without endorsement in a

separate section, and simply does not address criticism anywhere (meaning criticism

is allowed). Nothing about this structure “redefines” objectivity.

      Next, Plaintiffs say the meaning of “objectively” eludes them. See Pernell Br.

45. But Plaintiffs repeatedly acknowledge, apparently oblivious to the irony, that for

speech to trigger a federal funding recipient’s liability under Title VI and Title IX,

it must be “objectively offensive.” Novoa Br. 33-34. Nowhere do they suggest that

this standard is “far too evanescent to permit the imposition of legal penalties in the

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classroom.” Pernell Br. at 14. The “objective” standard is ubiquitous in American

law, see Op. Br. 51, and declaring it void for vagueness would call into question our

entire legal system.

       Finally, Plaintiffs and some amici conjure a litany of hypotheticals that, they

say, show the Act is vague. As an initial matter, “a law is not rendered vague by the

possibility that it will sometimes be difficult to determine the existence of an

incriminating fact.” Jones v. Gov. of Fla., 975 F.3d 1016, 1047 (11th Cir. 2020) (en

banc) (cleaned up). This principle partly explains why the Court should be

“reluctant” to “invalidate legislation on the basis of its hypothetical application to

situations not before the Court.” Nat’l Endowment for the Arts v. Finley, 524 U.S.

569, 584 (1998).

       Moreover, because Plaintiffs bring a pre-enforcement vagueness challenge,

“the speculative danger of arbitrary enforcement does not render the ordinance void

for vagueness.” Vill. of Hoffman v. Flipside, 455 U.S. 489, 503 (1982). The State

cannot be accused of “arbitrary” enforcement when it has never enforced the law in

the first place.

       In any event, nearly all the hypotheticals proffered by Plaintiffs and their

amici are based on misreadings of the Act’s provisions. First, all the hypotheticals

incorrectly assume that the statute lacks a scienter requirement. For example,

Plaintiffs say that violation of the statute turns on “the reaction of the student.” See

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Pernell Br. 47; Novoa Br. 53. But as already explained, the Act’s operative verbs

require scienter, so a violation of the statute turns on the professor’s mens rea, not

on how someone else “may perceive” the comment at issue.

      Next, Plaintiffs and their amici suggest that a professor will violate the Act by

engaging in standard teaching methods, such as the Socratic method or “devil’s

advocacy.” But they offer no explanation how a professor merely asking Socratic

questions could reasonably be said to have endorsed any of the Act’s concepts.

Similarly, a professor employing “devil’s advocacy” is, by definition, adopting a

position purely for argument’s sake, not to actually endorse it. And again, the Act’s

scienter requirement—when combined with the professor’s opportunity to cure—

would eliminate any vagueness concern as applied to this practice. The same goes

for “guest speakers,” “assigned reading,” or providing “written material.” See Novoa

Br. 3, 7. Those acts do not violate the Act if the professor does not intend to endorse

one of the prohibited concepts by carrying them out.

      Plaintiffs repeatedly place advocacy for “affirmative action” at the head of

their parade of speech banned by the Act. At the heart of the Act is the fundamental

principle that an immutable characteristic such as race “may never be used as a

‘negative’ and ... may not operate as a stereotype,” Students for Fair Admissions,

Inc. v. President and Fellows of Harvard Coll., No. 20–1199, slip op. at 27 (U.S.

June 29, 2023), for “it demeans the dignity and worth of a person to be judged by

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[such characteristics] instead of by his or her own merit and essential qualities,” id.

at 29. If by “affirmative action,” Plaintiffs mean, per concept 6, “discriminating

against” a person “by virtue of his or her race ... to achieve diversity, equity, or

inclusion”—the very practice that the Supreme Court just held is unlawful racial

discrimination, see id. at 22—then yes, the State may prohibit its educators from

endorsing racial discrimination while speaking on behalf of the State, in a State

classroom, and in return for a State paycheck.

      One amicus spins a series of hypotheticals regarding the application of

concepts 4 and 6 to speech about “sex.” See Pernell, Br. for Academic Freedom

Alliance as Amicus Curiae Supporting Defendants-Appellees, Doc. 55 (June 19,

2023). But the Act’s application to speech concerning “sex” was not pressed below.

The Novoa Plaintiffs’ preliminary-injunction memorandum does not even contain

the word “sex,” see Novoa, Doc. 19 (N.D. Fla. Sep. 15, 2022), and the Pernell

plaintiffs’ memorandum referenced “sex” only with respect to Dr. Park, and that

reference was limited to the oblique claim, with respect to concept 8’s prohibition

on espousing that “[s]uch virtues as ... objectivity are racist or sexist,” that

“objectivity frequently reflects dominant white, straight, male values,” Pernell, Doc.

13 at 25 (N.D. Fla. Aug. 24, 2022) (cleaned up). Because this is a Court of review,

not “first view,” it should not address amicus’s arguments regarding the application

of concepts 4 and 6 to speech regarding “sex” in this preliminary injunction appeal.

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See Upper Skagit Indian Tribe v. Lundgren, 138 S. Ct. 1649, 1654 (2018) (declining

to consider arguments that “ma[d]e their appearance” only in an amicus brief after

filing of opening brief).

IV.   Any Unconstitutional Provisions Are Severable.

      To the extent the Court deems any concept or any part of a concept

unconstitutional, the Court should sever the unconstitutional provision and leave the

rest of the Act intact. See Op. Br. 53-54. Plaintiffs use catchphrases like “cohesive

framework” to justify throwing out the Act entirely. Novoa Br. 57. But more than

jargon is required to overcome “the obligation of the judiciary to uphold the

constitutionality of legislative enactments where it is possible to strike only the

unconstitutional portions.” Fla. Dep’t of State v. Martin, 916 So. 2d 763, 773 (Fla.

2005) (emphasis added).

V.    Equitable Considerations Favor Reversal.

      Finally, Plaintiffs’ various arguments that they will suffer irreparable harm if

the preliminary injunction is stayed are all parasitic on their merits claims, see

Pernell Br. 53-55; Novoa Br. 58-59, and thus collapse alongside those claims. By

contrast, the district court’s preliminary injunction causes the ongoing irreparable

harm of preventing Florida from enforcing its law. See, e.g., Abbott v. Perez, 138 S.

Ct. 2305, 2324 n.17 (2018).




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                                 CONCLUSION

      For the foregoing reasons, the decision of the district court should be reversed

and the preliminary injunction should be vacated.

Dated: July 7, 2023                        Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume limitations of

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the parts of the brief exempted by FED. R. APP. P. 32(f) and 11th CIR. R. 32-4.

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Dated: July 7, 2023                       /s/Charles J. Cooper
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of Court

for the United States Court of Appeals for the Eleventh Circuit by using the appellate

CM/ECF system on July 7, 2023. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.

Dated: July 7, 2023                         /s/Charles J. Cooper
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